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                        DODGE CITY COMMUNITY COLLEGE
                       BEFORE THE JUDICIAL HEARING BOARD


In the Matter of
LYLE VANNAHMEN                                                DCCC Case No. 16-055
in Disciplinary Proceedings



                          RESPONDENT’S FIRST AMENDED:
                            I. REQUEST FOR DISCOVERY,
                           II. DUE PROCESS DEMANDS, and
                   III. REQUEST FOR PRE-HEARING CONFERENCE


        COMES NOW Respondent Lyle VanNahmen by counsel Peter J. Antosh and for his first
amended request for discovery, due process demands, and request for pre-hearing conference
respectfully states and suggests:


                                  I. REQUEST FOR DISCOVERY

        Respondent is in receipt of the following:
        1.         December 8, 2016 printout of student schedule along with “candidate entry.”
        2.         December 10, 2016 letter, with attachments, from Stephanie Lanning to Lyle
                   VanNahmen regarding temporary sanctions and reported violation of Student Code
                   of Conduct.
        3.         March 3, 2017 statement of Carla Patee.
        4.         March 5, 2017 letter from Beverly G. Temaat to Lyle VanNahmen. Respondent
                   considers this the “charging document.”
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       Respondent requests that any additional materials which Petitioner intends to present or
reference in any way at Respondent’s disciplinary hearing be provided to his counsel at least seven
(7) days prior to the date of his hearing. Respondent further requests that his counsel be provided
copies of the hand-written letters identified in Ofc. Sites’ report.


                                 II. DUE PROCESS DEMANDS

       1.      Respondent has the right to present his side of the story to an impartial arbiter or
               panel. In this connection, he demands that the identity of the members of the panel
               and their respective affiliations with DCCC be made known to his counsel at least
               seven (7) days prior to the date of his hearing.
               a.      In the event any or all members of the panel may be subject to undue
                       influence by the Petitioner, given that the president of the college is the de
                       facto chief complainant, Respondent demands that hearing of this matter be
                       assigned to an independent adjudicative body.
               b.      Respondent demands that he be provided with an alternate appeal procedure
                       in the event appeal is necessary, given that the current procedure in place
                       calls for the president of the college (complainant) to decide the appeal
                       (handbook p. 82.)
       2.      Respondent has the right to confront his accusers as well as to present witnesses on
               his behalf, from which he infers the right to compulsory process (handbook p. 81.)
               As such, he demands that Petitioner make the following employees of DCCC
               available for questioning at his disciplinary hearing:
               a.      College President Dr. Harold Nolte (complainant);
               b.      Dean of Students Ms. Stephanie Lanning (witness/complainant);
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              c.     Executive Assistant Ms. Carla Patee (witness/complainant);
              d.     Chief Judicial Officer Keith Thomas (witness);
              e.     Officer Steven Sites (investigating officer/witness);
              f.     Security Director Josh Thompson (witness);
              g.     College Vice President Beverly G. Temaat (witness/complainant.)
       3.     In order to effectively confront his accusers, Respondent demands that his counsel
              be permitted to conduct cross- and or direct examination of witnesses. In support
              Respondent states that these specific proceedings are quasi-criminal in nature in that
              they involve alleged assaultive conduct, DCCC’s Campus Security webpage
              indicates that most security officers at DCCC are active law enforcement officers,
              DCCC will have an attorney present, Petitioner has threatened Respondent with
              criminal prosecution in connection with its trespass notice, and the hearing is already
              postured as adversarial in that the handbook allows for examination of witnesses by
              the Respondent. Caselaw on this subject is mixed.
       4.     Respondent waives any rights to a closed hearing that may be inferred from FERPA
              or otherwise and demands that his disciplinary hearing be open to the public.
       5.     Respondent demands a record in the event appeal is necessary. Respondent proposes
              hiring at his expense a certified shorthand reporter and/or videographer to record the
              proceedings.
       6.     Respondent demands he be provided specific notice of the conduct that he must
              defend against at the earliest possible opportunity. As it stands, utilizing Ms.
              Temaat’s March 5, 2017 letter as the “charging document,” Respondent faces a
              moving target, to wit:
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                     ...These specific allegations are that you violated conduct
                     expectations noted in the Behavior Misconduct (page 78) and Assault
                     (page 80) sections of the Code of Conduct on or about December 5,
                     2017 and on or about December 8, 2017 [sic]. Specifically, the
                     charges are as follows:

                     Behavior Misconduct (page 78), states “Students are not to exhibit
                     behavior that threatens any person, harms, or causes to place in
                     harm any person or conduct themselves in a lewd, indecent, obscene,
                     offensive, or disorderly manner.”

                     Assault (page 80), states “Any actual or threatened interference,
                     physical attack or sexual attack, physical or verbal harassment,
                     intimidation, or personal abuse against any member of the College
                     community is forbidden.”

                     Of special note: Only the underlined and bolded provisions of each
                     code of conduct section are included in the allegations/charges
                     specifically related to your formal conduct review hearing.

              From the materials Respondent presently has he cannot make heads nor tails of what
              behavior he allegedly exhibited that was threatening, who he allegedly threatened,
              what conduct he allegedly displayed that was allegedly disorderly, as alleged by
              whom, what interference he allegedly threatened, to whom, what alleged intimidating
              conduct he displayed, who was allegedly intimidated, and what permutation of these
              alleged events occurred December 5, 2016 and December 8, 2016.

              Dates          Possible Complainants         Alleged Misconduct
              12/5/16        Harold Nolte                  exhibited behavior that threatened a
              12/8/16        Stephanie Lanning                 person
                             Carla Patee                   conducted himself in a disorderly
                             Bev Temaat                        manner
                             Josh Thompson                 threatened interference
                             Ofc. Sites                    intimidation
                             Keith Thomas
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               To be certain, the reports give a glimpse. However, Respondent cannot overstate the
               point that the reports and charging document provided to him to date do not clearly
               indicate what he allegedly did wrong. As such he cannot mount a proper defense
               absent more specific statement.
       7.      In connection with his demand for specific notice of the conduct he must defend
               against, Respondent demands that he be provided with notice of the penalties that he
               may be subject to if found responsible for the alleged misconduct at the earliest
               possible opportunity. Respondent asserts that this is a critical component of notice.
       8.      Respondent states his objection to the issuance of the trespass order against him on
               December 10, 2016 insofar as it constitutes a prior restriction absent any indication
               of authorization by the Judicial Hearing Board. Respondent demands the trespass
               order be immediately lifted.
       9.      Respondent affirmatively states that his conduct was protected by the First
               Amendment to the United States Constitution.


                   III. REQUEST FOR PRE-HEARING CONFERENCE


       Respondent and Petitioner likely envision two very different hearings occurring, in at least
the following respects: composition of hearing panel, manner of presentation of evidence (including
compelled attendance of witnesses), participation of counsel, open vs. closed hearing, presence of
certified shorthand reporter, and bill of particulars in advance of hearing. Respondent respectfully
suggests that it would be helpful to hold a pre-hearing conference to obtain rulings for the record
regarding the conduct of these administrative proceedings in advance of the date of hearing.
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       WHEREFORE Respondent requests discovery, makes Due Process demands, and requests
this matter be set for pre-hearing conference.
                                                     Respectfully Submitted,

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                                                     (620) 225-4339 F


                                                 By: ____________________________________
                                                     Peter J. Antosh #21334
                                                     Attorneys for Respondent




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of March, 2017 (after normal business hours) I e-mailed
the above and foregoing document to:
1.     Mr. Glenn I. Kerbs, College Attorney;
2.     Ms. Beverly G. Temaat, College Vice President;
3.     Ms. Stephanie Lanning, Dean of Students;
4.     Mr. Keith Thomas, Chief Judicial Officer.



                                                     ____________________________________
                                                     Peter J. Antosh
